 Case 1:18-cr-00439-MKB Document 29 Filed 11/09/18 Page 1 of 1 PageID #: 273

                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
DGR                                              271 Cadman Plaza East
F. #2016R00467                                   Brooklyn, New York 11201



                                                 November 9, 2018

By ECF

The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Tim Leissner
                     Criminal Docket No. 18-439 (MKB)

Dear Judge Brodie:

               The government writes in accordance with the Court’s November 8, 2018
Order, which directed the government to file a redacted transcript of the August 28, 2018
plea hearing in the above-captioned matter. (ECF Order dated Nov. 8, 2018.) A redacted
version of the plea hearing transcript is attached hereto as Exhibit A.


                                                 Respectfully submitted,

                                                 RICHARD P. DONOGHUE
                                                 United States Attorney

                                          By:       /s/Drew G. Rolle
                                                 Drew G. Rolle
                                                 Assistant U.S. Attorney
                                                 (718) 254-6783


cc:    All Counsel of Record (by ECF)
